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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



  COMMODITY FUTURES TRADING
  COMMISSION, and                               ORDER GRANTING EIGHTH
                                                INTERIM FEE APPLICATION
  STATE OF UTAH DIVISION OF
  SECURITIES, through Attorney General
  Sean D. Reyes

       Plaintiffs,                              Civil No. 2:18-cv-00892-TC
         v.

 RUST RARE COIN INC., a Utah corporation,       Judge Tena Campbell
 GAYLEN DEAN RUST, an individual,
 DENISE GUNDERSON RUST, an individual,
 JOSHUA DANIEL RUST, an individual,             Magistrate Judge Dustin Pead

       Defendants;

 and

 ALEESHA RUST FRANKLIN, an individual,
 R LEGACY RACING INC, a Utah
 corporation, R LEGACY ENTERTAINMENT
 LLC, a Utah limited liability company, and R
 LEGACY INVESTMENTS LLC, a Utah
 limited liability company.

       Relief Defendants.
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           Before the Court is the eighth interim fee application (the “Fee Application”), Dkt. No. [

 ], submitted by Jonathan O. Hafen in his capacity as the Court-Appointed Receiver for Rust Rare

 Coin Inc., Gaylen Dean Rust, R Legacy Racing Inc., R Legacy Entertainment LLC, R Legacy

 Investments LLC, Denise Gunderson Rust, and Joshua Daniel Rust (collectively, “Defendants”)

 seeking approval by the Court for the expenses incurred by the Receiver; the Receiver’s counsel,

 Parr Brown Gee & Loveless (“Parr Brown”); the Receiver’s accountants, Berkeley Research

 Group (“BRG”), the Conflict Receiver, Wayne Klein, and his legal counsel, Manning Curtis

 Bradshaw & Bednar, for the period of July 1, 2020 through September 30, 2020 (the “Application

 Period”), and authorization to pay all allowed fees and expenses from funds of the Receivership

 Estate.

           Based on the Fee Application and accompanying exhibits, and for good cause shown,

           IT IS HEREBY ORDERED that:

           1.     The Fee Application is GRANTED; and

           2.     The Receiver is hereby authorized to pay the fees and expenses incurred by the

 Receiver, Parr Brown, BRG, the Conflict Receiver and his counsel as follows:

                  a.     Receiver:              $28,620.00 for fees.

                  b.     Parr Brown:            $473,297.50 for fees and
                                                $4,880.47 for out-of-pocket expenses.

                  c.     BRG:                   $168,273.50 for fees and
                                                $210.19 for out-of-pocket expenses.

                  d.     Conflict Receiver:      $6,129.82 for fees.
                         (and counsel)

           3.     The Receiver and his professionals will not take any fees or be reimbursed for any

 expenses from the Receivership Estate until after the Receiver recovers at least three times the




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 amount of the fees for the Estate, at which time the approved fees and expenses shall be paid.

        DATED this ___ day of January, 2021.




                                                     Honorable Dustin B. Pead
                                                     United States Magistrate Judge




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